             Case 2:18-cr-00070-CKD Document 19 Filed 09/13/18 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )   2:18-cr-00070-CKD
                                           )
12                      Plaintiff,         )   ORDER TO DISMISS DEFENDANT BRUCE A.
                                           )   RAMIREZ-LOPEZ
13         v.                              )
                                           )
14   CHRISTINA P. TERRY,                   )   DATE: September 13, 2018
     YEVGENIY M. VOSHEV, and               )   TIME: 9:30 a.m.
15   BRUCE A. RAMIREZ-LOPEZ,               )   JUDGE: Hon. Carolyn K. Delaney
                                           )
16                      Defendants.        )
                                           )
17

18         It is hereby ordered that the plaintiff United States of

19   America’s Motion to Dismiss defendant Bruce A. Ramirez-Lopez from

20   Case Number 2:18-cr-00070-CKD without prejudice is GRANTED.

21
     Dated: September 13, 2018
22

23

24

25

26

27

28


     ORDER TO DISMISS                           1       U.S. v. CHRISTINA P. TERRY, ET AL
